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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 9:18-cr-80076-ROSENBERG


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 TRAVELL KINKAY JONES,

        Defendant.
                                       /

                         ORDER DENYING WITHOUT PREJUDICE
                         MOTION FOR COMPASSIONATE RELEASE

        This cause comes before the Court upon Defendant Travell Kinkay Jones’s (“Jones”) Motion

 for Compassionate Release.      DE 579.      Jones seeks release from prison under 18 U.S.C.

 § 3582(c)(1)(A)(i) in light of the COVID-19 pandemic.          Alternatively, he seeks a judicial

 recommendation that the Bureau of Prisons (“BOP”) transfer him to home confinement. He presently

 is confined at FCI Miami serving an 86-month sentence after pleading guilty to conspiracy to possess

 with intent to distribute one kilogram or more of heroin and five kilograms or more of cocaine.

 DE 445; DE 516. The Court has carefully reviewed Jones’s Motion, the Government’s Response

 thereto [DE 582], and the record and is otherwise fully advised in the premises. For the reasons set

 forth below, the Motion is denied without prejudice.

        Once a sentence of imprisonment is imposed, a court’s authority to modify the sentence is

 narrowly limited by statute. United States v. Phillips, 597 F.3d 1190, 1194-95 (11th Cir. 2010).

 Under § 3582(c)(1)(A), a court may modify a term of imprisonment
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        upon motion of the Director of the Bureau of Prisons, or upon motion of the defendant
        after the defendant has fully exhausted all administrative rights to appeal a failure of
        the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of
        30 days from the receipt of such a request by the warden of the defendant’s facility,
        whichever is earlier.

 18 U.S.C. § 3582(c)(1)(A).      The court may reduce the term of imprisonment if it finds that

 “extraordinary and compelling reasons warrant such a reduction” and “that such a reduction is

 consistent with applicable policy statements issued by the Sentencing Commission.” Id. In making

 the decision whether to reduce the term of imprisonment, the court must also consider the factors set

 forth in 18 U.S.C. § 3553(a), to the extent that they are applicable. Id.

        Application note 1 to U.S.S.G. § 1B1.13 provides a list of circumstances in which

 “extraordinary and compelling reasons” warranting a sentence reduction may exist. See U.S.S.G.

 § 1B1.13 (policy statement), application note 1. One such circumstance is where the defendant is

 “suffering from a serious physical or medical condition . . . that substantially diminishes the ability

 of the defendant to provide self-care within the environment of a correctional facility and from which

 he or she is not expected to recover.” Id. § 1B1.13, application note 1(A)(ii)(I). Extraordinary and

 compelling reasons may also exist if, “[a]s determined by the Director of the Bureau of Prisons, there

 exists in the defendant’s case an extraordinary and compelling reason other than, or in combination

 with, the reasons described in subdivisions (A) through (C).” Id. § 1B1.13, application note 1(D).

 Before reducing a sentence, the court must also determine that the “defendant is not a danger to the

 safety of any other person or to the community.” Id. § 1B1.13(2).

        As an initial matter, the Government does not dispute that Jones exhausted administrative

 remedies before seeking relief from the Court. DE 582 at 8. Jones is 43 years’ old. He states that he

 suffers from prostatitis. He does not contend that he suffers from an illness or condition that the

 Center for Disease Control has identified as placing or potentially placing an individual at an
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 increased risk for severe illness from COVID-19.         See https://www.cdc.gov/coronavirus/2019-

 ncov/need-extra-precautions/people-with-medical-conditions.html (last visited Nov. 6, 2020). The

 Court is sympathetic to the medical condition that Jones describes and to the hardships that

 imprisonment creates, especially during the COVID-19 pandemic. However, he has provided no

 extraordinary and compelling reason, as defined under the law, that justifies a reduction of his

 sentence. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13, application note 1.

        In addition, the Court is unable to conclude that Jones’s release would be consistent with the

 sentencing factors in 18 U.S.C. § 3553(a), and is unable to conclude that he is not a danger to the

 safety of any other person or to the community. See 18 U.S.C. § 3553(a); id. § 3582(c)(1)(A)

 (requiring a court to consider the § 3553(a) factors when determining whether to reduce a sentence);

 U.S.S.G. § 1B1.13(2) (requiring a court to conclude that the defendant “is not a danger to the safety

 of any person or to the community” before granting a reduction of sentence). Jones admitted to

 conspiring to possess with intent to distribute a significant quantity of heroin and cocaine.

 See DE 445. He received a sentence within the applicable guideline range and has served less than

 one-half of that sentence. The factors that do not support his release include the nature and

 circumstances of his offenses, the need to protect the public, and the need for a sentence that reflects

 the seriousness of the offenses, promotes respect for the law, and provides just punishment.

 See 18 U.S.C. § 3553(a).

        Finally, the Court also declines at this time to recommend to the BOP that Jones be permitted

 to serve the remainder of his sentence on home confinement. See 18 U.S.C. § 3621(b) (listing factors

 for the BOP to consider when making a placement determination, including any recommendation by

 the sentencing court). According to the Government, Jones is not eligible to be transferred to home


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 confinement because he has served less than one-half of his sentence and has more than 18 months

 remaining to serve. DE 582 at 17.

         For all of these reasons, it is ORDERED AND ADJUDGED that Defendant Travell Kinkay

 Jones’s Motion for Compassionate Release [DE 579] is DENIED WITHOUT PREJUDICE.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 9th day of November,

 2020.



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                                                         ROBIN L. ROSENBERG
 Copies furnished to: Defendant; Counsel of Record       UNITED STATES DISTRICT JUDGE




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